                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MISSOURI

GUADALUPE ADAMS, Individually,                       :
                                                     :
               Plaintiff,                            :
                                                     :
v.                                                   :   Case No. 6:15-cv-3261
                                                     :
SHRI DWARKESH INVESTMENTS LLC                        :
A Domestic Limited Liability Company                 :
             Defendant.                              :




                                  NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that the parties to this action have reached an agreement

regarding all disputed issues in this case. The parties are in the process of finalizing their

settlement and anticipate filing a joint stipulation for dismissal within thirty (30) days.

       Plaintiff requests that the Court adjourn all upcoming deadlines while the parties finalize

this settlement.

Dated: November 6, 2015

                                                    /s/ Pete M. Monismith
                                                    Pete M. Monismith
                                                    Kansas Bar #26379
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                                 CERTIFICATE OF SERVICE

   I hereby certify that a true and correct copy of the foregoing was served via the Court’s

CM/ECF system upon all parties of record this 6th day of November 2015.




                                             By: /s/ Pete M. Monismith___
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